         Case 3:18-cv-01510-CSH Document 16 Filed 04/23/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



MALIBU MEDIA, LLC,
                                                   Civil Action No. 3:18-cv-01510-CSH
                      Plaintiff,

v.

JOHN DOE subscriber assigned IP address
67.86.53.252,

                      Defendant.


                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                        WITH PREJUDICE OF JOHN DOE

       PLEASE TAKE NOTICE, Plaintiff has settled this matter with John Doe (“Defendant”)

through his counsel. Pursuant to the settlement agreement’s terms, Plaintiff hereby voluntarily

dismisses Defendant from this action with prejudice. John Doe was assigned the IP Address

67.86.53.252. Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant John Doe has neither answered

Plaintiff’s Complaint nor filed a motion for summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for

administrative purposes.

       Dated: April 23, 2019

                                                   Respectfully submitted,

                                           By:      /s/ Kevin T. Conway
                                                   Kevin T. Conway, Esq. (30364)
                                                   80 Red Schoolhouse Road, Suite 110
                                                   Spring Valley, NY. 10977
                                                   T: 845-352-0206
                                                   F: 845-352-0481
                                                   E-mail: kconway@ktclaw.com
                                                   Attorney for Plaintiff


                                              1
         Case 3:18-cv-01510-CSH Document 16 Filed 04/23/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2019, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and
interested parties through this system.


                                                            By: /s/ Kevin T. Conway



Counsel for Defendant:
Robert Cashman, Esq.
Email: rzcashman@cashmanlawfirm.com




                                                2
